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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

MAXWELL ROUX, JOHN DUFF III,
HENRY SMITH, and BRUNO NISPEL,

                   Plaintiffs,                    C.A. No. 1:23-cv-01056-GBW

        v.

KRISHNA OKHANDIAR, REMILIA
CORPORATION LLC, a Delaware limited
liability company, and REMILIA
INDUSTRIES, LLC, a Delaware limited
liability company,

                   Defendants.


                                    [PROPOSED] ORDER

        UPON CONSIDERATION of Defendants’ Motion to Dismiss Plaintiffs’ First Amended

Complaint or, in the Alternative, for a More Definite Statement (the “Motion”), and any response

thereto, if any,

        IT IS HEREBY ORDERED this ___ day of ____________, 2024, that the Motion is

GRANTED, and Counts I, II, III, IV, V, VI, VII, VIII, IX, and XIII of the First Amended

Complaint are DISMISSED WITH PREJUDICE.




                                            UNITED STATES DISTRICT COURT JUDGE
